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CASE NO. 24-80116-CR-CANNON/MCCABE
GOV’TS FOURTH RESPONSE TO STANDING DISCOVERY ORDER
Date Produced via USAFX: December 4, 2024
Bates Range: Gov007524-7627

FILE: FOLDER: BATES Nos.:
35967511 Oct 02 2024 16 45 41 PM 6724.wav (First Set: Gov007524-7606) Gov007524
35967511 Oct 08 2024 18 43 28 PM 3048.wav Gov007525
TRULINCS-Oct 8 2024 - 1545 email.pdf Gov007526
TRULINCS-Oct 15-23 2024.pdf Gov007527
35967511 Oct 01 2024 16 55 53 PM 6724.wav Gov007528
35967511 Oct 01 2024 19 05 08 PM 6724.wav Gov007529
35967511 Sep 26 2024 18 52 39 PM 9150.wav Gov007530
35967511 Sep 27 2024 08 09 33 AM 6724.wav Gov007531
35967511 Sep 27 2024 18 49 37 PM 6724.wav Gov007532
35967511 Sep 27 2024 20 34 21 PM 6724.wav Gov007533
35967511 Sep 28 2024 16 57 03 PM 6724.wav Gov007534
35967511 Sep 29 2024 17 30 50 PM 6724.wav Gov007535
35967511 Sep 29 2024 20 01 32 PM 6724.wav Gov007536
25-35967511-1002-MO-1 .pdf Gov007537
25-35967511-1002-MO-2.pdf Gov007538
25-35967511-1002-MO-3 .pdf Gov007539
25-35967511-1002-MO-4.pdf Gov007540
TV Report 1001-1003 2024.pdf Gov007541
25-35967511-1002-MO-S5 .pdf Gov007542
25-35967511-1002-MO-6.pdf Gov007543
25-35967511-1002-MO-7.pdf Gov007544
25-35967511-1002-MO-8 .pdf Gov007545
25-35967511-1002-MO-9 pdf Gov007546
35967511 Oct_03_ 2024 19 23 08 PM 6724.wav Gov007547
35967511 Oct 04 2024 14 42 34 PM 9150.wav Gov007548
35967511 Oct 04 2024 19 17 48 PM 6724.wav Gov007549
35967511 Oct_05 2024 19 35 41 PM 6724.wav Gov007550
35967511 Oct_07_ 2024 15 14 15 PM 9150.wav Gov007551
TV Report 1003-1007 2024.pdf Gov007552

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25-35967511-1008-MO-2.pdf
25-35967511-1008-MO-3.pdf
25-35967511-1008-MO-4.pdf
25-35967511-1008-MO-5 .pdf
25-35967511-1008-MO-6.pdf
TV Report 1008-1009 2024.pdf
10.10.24 Email.pdf
25-35967511-0918-MI-1.pdf
25-35967511-0921-MI-1.pdf
35967511 Oct 09 2024 18 54 51 PM
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TV Report 1009-1010 2024.pdf
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TV Report 1010-1011 2024.pdf
10.15.24 Email (1).pdf

10.15.24 Email (2).pdf
25-35967511-1015-MO-1.pdf
25-35967511-1015-MO-2.pdf
25-35967511-1015-MO-3.pdf
25-35967511-1015-MO-4.pdf
25-35967511-1015-MO-5.pdf

TV Report 1011-1015 2024.pdf
25-35967511-1015-MO-6.pdf
25-35967511-1015-MO-7.pdf
25-35967511-1015-MO-8 .pdf
35967511 Oct_11_2024 18 29 18 |
35967511 Oct 11 2024 21 18 42_
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35967511 Oct_13_2024 18 22 21_
35967511 Oct_14 2024 19 15 09 |

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35967511 Oct 15 2024 19 49 52_
35967511 Oct 16 2024 20 19 47_
35967511 Oct 17 2024 20 39 51_
35967511 Oct 18 2024 20 47 31_
35967511 Oct 19 2024 17 34 48_
35967511 Oct 19 2024 20 15 22.
35967511 Oct 20 2024 19 36 52_
35967511 Oct 21 2024 16 52 47_
35967511 Oct 22 2024 14 40 58

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3048.wav
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Gov007600
Gov007601
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3048.wav
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35967511 Oct_22 2024 18 50 43 PM
35967511 Oct_23_ 2024 17.51 06 PM
35967511 Oct_23_ 2024 20 16 57 PM
24-35967511-0916-RFI-trans-memo.pdf
35967511 Contacts.pdf

35967511 Inmate Center Report.pdf
35967511 PD15.pdf

35967511 Photo.pdf

35967511 PP41.pdf

35967511 PP44.pdf

35967511 PP74.pdf

35967511 PSCD.pdf

TRULINCS-87pg Nov 1 - Nov 21 2024.pdf (Third Set: Gov007627)

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